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IN THE UNITED STATES DISTRICT COURE' OSJUHZO PH 2_3
FOR THE WESTERN DISTRICT OF TENNESSEE ` '

WESTERN DIVISION
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JOHN 'I`. HALL,
Plaintiff,

vs. No. 04-3034-D/An

MEMPHIS CITY SCHOOLS,

Defendant.

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ORDER GRANTING LEAVE TO PROCEED §§ FORMA PAUPERIS
ORDER DENYING APPOINTMENT OF COUNSEL
ORDER OF PARTIAL DISMISSAL
AND
ORDER TO ISSUE AND EFFECT SERVICE OF PROCESS

 

Plaintiff John T. Hall filed a ppg se complaint pursuant
to Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e pp
§§g¢, on December 21, 2004, along with an application to proceed ip
;p;ma pauperis and an application seeking appointment of counsel.
Because the information provided by the plaintiff was insufficient
to permit the Court to conclude that he is indigent and unable to
pay the filing fee or to give security therefor, the Court issued
an order on March 28, 2005 directing the plaintiff, within thirty
days, to file a properly completed pp fp;ma pauperis affidavit,
executed in compliance with 28 U.S.C. § 1746, or pay the $150 civil
filing fee. The plaintiff filed a motion for reconsideration of
that order on April 25, 2005 that was not executed in compliance

with 28 U.S.C. § 1?46 and, therefore, the Court issued an order on

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April 29, 2005 denying the motion for reconsideration and directing
the plaintiff, once again, to submit a properly completed ip fp;m§
pauperis affidavit or pay the civil filing fee within thirty days.
The plaintiff filed an ip ;p;mg pauperis affidavit, and a
supplement to his motion seeking appointment of counsel, on May 19,
2005. Based on the information contained in the plaintiff’s most
recent affidavit, the motion to proceed. ip `fp;ma pauperis is
GRANTED. The Clerk shall record the defendant as the Memphis City
Schools.

The plaintiff has filed a motion seeking appointment of
counsel. Two statutes authorize the district court to request or
appoint counsel for an indigent Title VII plaintiff. Twenty-eight
U.S.C. § l9l5(d) provides that the “court may request an attorney
to represent any such person unable to employ counsel.”1 Similarly,
under 42 U.S.C. § 2000e-5(f)(l), “upon application by the
complainant and in such circumstances as the court may deem just,
the court may appoint an attorney.” However, “[t]here is no
constitutional or . . . statutory right to counsel in federal civil

cases.” Farmer v. Haas, 990 F.2d 319, 323 (?th Cir. 1993).

 

Generally, a court will only appoint counsel in exceptional
circumstances. Willett v. Wells, 469 F. Supp. 748, 751 (E.D. Tenn.
1977). Although “no comprehensive definition of exceptional

circumstances is practical,” Branch v. Cole, 686 F.2d 264, 266 (5th

 

 

1 However, “§ l9l5(d) does not authorize the federal courts to make

coercive appointments of counsel” to represent indigent civil litigants. Mallard
v. United States Dist. Court, 490 U.S. 296, 310 (1989).

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Cir. 1982), courts resolve this issue throu@d a fact-specific
inguiry. Wilborn v. Escalderon, 789 F.2d 1328, 1331 (9th Cir.
1986). Examining the pleadings and documents in the file, the Court
analyzes the merits of the claims, the complexity of the case, the
ppg se litigant’s prior efforts to retain counsel, and his ability
to present the claims. Henrv v. Citv of Detroit Manpower Dep't, 763
F.Zd 757, 760 (6th Cir. 1985); Wiggins v. Sargent, 753 F.2d 663,
668 (8th Cir. 1985).

As a general rule, counsel should be appointed in civil
cases only if a litigant has made “a threshold showing of some
likelihood of merit.” CoODer v. A. Sargenti Co., 877 F.2d 170, l74
(2d Cir. 1989).2 At this stage of the proceedings, before the Court
has had the opportunity to assess the strength of plaintiff’s case,
the Court is unable to conclude that plaintiff has satisfied that
standard. Moreover, a review of this complaint indicates that the
case is not so complex that the Court should exercise its
discretion7 to appoint counsel. This plaintiff also has
demonstrated, through his ppg se prosecution of his previous Title
VII action against this employer, Hall v. Memphis Citv Schools, No.
02-2468-Ml/A (W.D. Tenn.), that he is capable of representing
himself. Finally, although the Court granted leave to proceed ip

forma pauperis, that motion presented an extremely close question

 

2 The Second Circuit elaborated: “Courts do not perform a useful

service if they appoint a volunteer lawyer to a case which a private lawyer would
not take if it were brought to his or her attention. Nor do courts perform a
socially justified function when they request the services of a volunteer lawyer

for a meritless case that no lawyer would take were the plaintiff not indigent.”
Id.

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in light of the very significant monthly income earned by the
plaintiff and his wife. Because the ppg pppp resources available to
the Court are extremely limited, it is appropriate ordinarily to
reserve appointment of counsel to individuals who are indigent, who
are incapable of representing themselves, and who have the greatest
likelihood of success on the merits. The motion for appointment of
counsel is DENIED.

The Court is required, to screen pp _pppmp pauperis
complaints and to dismiss any complaint, or any portion thereof, if
the action-

(i) is frivolous or malicious;

(ii) fails to state a claim on which relief may be
granted; or

(iii) seeks monetary relief against a defendant who
is immune from such relief.

28 U.S.C. § l9l5(e){2). One claim asserted by the plaintiff is
subject to dismissal.

On April 25, 2005, plaintiff filed a document, entitled
“Motion to Amend Complaint,” which sought to add a claim under “the
Whistleblowers Act,” which is not identified by citation.3 As a
preliminary matter, the proposed amendment does not comply with
Fed. R. Civ. P. 8(a), which provides, in pertinent part, that “[a]
pleading which sets forth a claim for relief . . . shall contain

(2) a short and plain statement of the claim showing that the

 

3 Magistrate Judge S. Thomas Anderson issued an order on May 16, 2005

denying the motion on the ground that, pursuant to Fed. R. Civ. P. 15(a), leave
of Court is not required for a first amendment prior` to the filing of a
responsive pleading. That amendment is, however, subject to screening.

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pleader is entitled to relief.” The plaintiff's amendment does not
set forth any facts indicating that the defendant violated any
statute providing protection to whistleblowers.

The Court ordinarily would order the plaintiff to amend
his complaint to comply with the Federal Rules of Civil Procedure.
Such a course is, however, unavailable when a Court is screening a
complaint pursuant to 28 U.S.C. § l9lS(e)(2}(B). McGore v.
Wrigglesworth, ll4 F.3d 601, 612 (6th Cir. 1997). Under these
circumstances, the appropriate course is to dismiss the
whistleblower claim without prejudice to the plaintiff's right to
seek leave to amend to reassert his whistleblower claim, so long as
the new amendment is in compliance with Fed. R. Civ. P. 8(a)(2).

ln order to preclude the filing of unnecessary motions,
the Court notes that, to the extent the citation to the
“Whistleblowers Act” is intended to refer to the Tennessee Public
Protection Act (“TPPA”), Tenn. Code Ann. § 50-1-304, the plaintiff
has no claim. That statute provides, in pertinent part, that “[n]o
employee shall be discharged or terminated for refusing to
participate in, or for refusing to remain silent about, illegal
activities.” Tenn. Code Ann. § 50-1-304(a). As this plaintiff has
not been discharged or terminated, the TPPA is plainly
inapplicable. See Howard v. Life Care Centers of Am., Inc., No.
E2004-002l2-COA-R3-CV, 2004 WL 1870067, at *4 (Tenn. Ct. App. Aug.
20, 2004) (“Tenn. Code Ann. § 50-1-304 requires that the employee

be ‘terminated.' This would clearly require an act on the part of

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the employer to end the employment relationship.”).q Accordingly,
to the extent the plaintiff’s amendment seeks to assert a claim
under the TPPA, it is DISMISSED, pursuant to 28 U.S.C. §
l9l5(e)(2)(8)(ii), for failure to state a claim on which relief may
be granted.

lt is ORDERED that the Clerk shall issue process for the
defendant and deliver said process to the marshal for service.
Service shall be made on the defendant pursuant to Fed. R. Civ. P.
4(j)(2) and Tenn. Code Ann. § 4.04(9) & (10). The service on the
defendant shall include a copy of this order. All costs of service
shall be advanced by the United States.

lt is ORDERED that the plaintiff shall serve a copy of
every further document filed in this cause on the attorney for the
defendant or on the defendant if it has no attorney. The plaintiff
shall make a certificate of service on every document filed. The
plaintiff shall familiarize himself with the Federal Rules of Civil
Procedure and this Court's local rules.

The plaintiff shall promptly notify the Clerk of any

change of address or whereabouts. Failure to comply with these

 

q If plaintiff’s whistleblower claim arises from the same facts that

support his retaliation claim, it is without merit for other reasons. On October
31, 2003, the Court granted summary judgment to the defendant in plaintiff's
previous Title Vll case, Hall v. Memphis Citv Schools, NO. 04-2468-Ml/A (W.D.
Tenn.). In so holding, the Court observed that “[p]laintiff's persistence in
litigating this lawsuit despite his complete inability to articulate any reason
why the conduct about which he complains has any connection to his race presents
an appearance of possible abuse of process.” l0/3l/03 Order at 12. Accordingly,
in light of the disposition of case no. 04-2468, plaintiff cannot establish that
the defendant engaged in illegal activities.

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requirements, or any other order of the Court, may result in this

case being dismissed without further notice.

IT Is so oRDERED this gO"“" day of June, 2005.

 

UN ED STATES DISTRICT JU GE

 

TRICT COURT - WESTERN""DTISI F TENNESSEE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:04-CV-03034 Was distributed by fax, mail, or direct printing on
June 20, 2005 to the parties listed.

 

.1 ohn T. Hall
2024 Lakefront Dr. # 101
Collierville, TN 3 8017

Honorable Bernice Donald
US DISTRICT COURT

